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1                                UNITED STATES DISTRICT COURT
2                                       DISTRICT OF NEVADA
3
     UNITED STATES OF AMERICA,                        )
4                                                     )
5
                          Plaintiff,                  )        Case No.: 2:10-cr-0579-GMN-NJK
            vs.                                       )                       and
6                                                     )        Case No.: 2:12-cr-0346-GMN-NJK
     CORNELIU WEIKUM,                                 )
7    YULIA MISHINA-HEFFRON,                           )                    ORDER
                                                      )
8
                          Defendants.                 )
9                                                     )

10

11          On October 19, 2015, the Court granted the Government’s Motion to Adjust Various
12   Victim’s Restitution Amounts to Reflect Payments from Other, Third-Party Sources regarding
13   Defendants Corneliu Weikum and Yulia Mishina-Heffron (collectively, “Defendants”). (Case
14   No. 2:10-cr-0579-GMN-NJK, ECF No. 228; Case No. 2:12-cr-0346-GMN-NJK, ECF No.
15   142). In accordance with this Order, the Court issued Amended Judgments in both cases as to
16   both Defendants. (See Case No. 2:10-cr-0579-GMN-NJK, ECF No. 229–230; Case No. 2:12-
17   cr-0346-GMN-NJK, ECF No. 143–144). These Amended Judgments included an updated
18   restitution list, reducing the amount of restitution owed to certain victims who received partial
19   compensation from third-party sources. However, the Amended Judgments ordered the same
20   total amount of restitution as the initial Judgments.
21          Now pending before the Court is the Government’s Motion to Amend Judgments to
22   Clarify Restitution Amounts. (Case No. 2:10-cr-0579-GMN-NJK, ECF No. 232; Case No.
23   2:12-cr-0346-GMN-NJK, ECF No. 147). The Motion requests that the Court again amend the
24   judgments in both cases as to both Defendants by reducing the total amount of restitution from
25   $4,367,476.38 to $4,180,392.52. The Government asserts that this amendment is necessary to


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1    make the total amount of restitution ordered consistent with the restitution list attached to the
2    Amended Judgments.
3           On August 11, 2016, the Court held a hearing and conditionally accepted the
4    Government’s request pending verification by the Clerk’s Office Finance Department that the
5    total amount provided by the Government matched the total from the restitution lists attached to
6    the previously Amended Judgments. (See Case No. 2:10-cr-0579-GMN-NJK, ECF No. 236;
7    Case No. 2:12-cr-0346-GMN-NJK, ECF No. 151).
8           The Court has verified with the Clerk’s Office Finance Department that the numbers are
9    consistent. Accordingly,
10          IT IS HEREBY ORDERED that the Government’s Motion to Amend Judgments to
11   Clarify Restitution Amounts (Case No. 2:10-cr-0579-GMN-NJK, ECF No. 232; Case No. 2:12-
12   cr-0346-GMN-NJK, ECF No. 147) is GRANTED.
13          The Clerk of the Court shall amend the judgments in both Case No. 2:10-cr-0579-GMN-
14   NJK and Case No. 2:12-cr-0346-GMN-NJK, reducing the total amount of restitution from
15   $4,367,476.38 to $4,180,392.52.
16                      18 day of August, 2016.
            DATED this _____
17

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                                                   ___________________________________
19                                                 Gloria M. Navarro, Chief Judge
                                                   United States District Court
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